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 7
                                        UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                              SAN JOSE DIVISION
10
     Cung Le, Nathan Quarry, Jon Fitch, on behalf of      Case No. 5:14-cv-05484-EJD
11   themselves and all others similarly situated,                 5:14-cv-05591- EJD
                                                                   5:14-cv-05621- EJD
12                        Plaintiffs,
                                                          DECLARATION OF JOSEPH R. SAVERI IN
13          v.                                            SUPPORT OF PLAINTIFFS’ OPPOSITION
                                                          TO UFC’s ADMINISTRATIVE MOTION TO
14   Zuffa, LLC, d/b/a Ultimate Fighting                  ADVANCE HEARING DATE
     Championship and UFC,
15
                          Defendant.
16
     Luis Javier Vazquez and Dennis Lloyd Hallman,
17   on behalf of themselves and all others similarly
     situated,
18
                          Plaintiffs,
19
            v.
20
     Zuffa, LLC, d/b/a Ultimate Fighting
21   Championship and UFC,
22                        Defendant.
23   Brandon Vera and Pablo Garza, on behalf of
     themselves and all others similarly situated,
24
                          Plaintiffs,
25
            v.
26
     Zuffa, LLC, d/b/a Ultimate Fighting
27   Championship and UFC,
28                        Defendant.

                                                                                 Case No. 5:14-cv-05484-EJD
                                                                                 Case No. 5:14-cv-05591-EJD
                                                       1                         Case No. 5:14-cv-05621-EJD
                                         DECLARATION OF JOSEPH R. SAVERI
          Case 2:15-cv-01045-RFB-BNW            Document 39-1         Filed 02/02/15      Page 2 of 3



 1            I, Joseph R. Saveri, declare:

 2            1.     I am the Founding Partner of the Joseph Saveri Law Firm, Inc. (“JSLF”). I am an attorney

 3   of record in these related matters for Plaintiffs Le, Quarry, Fitch, Vazquez, Hallman, Vera and Garza and
 4
     a member in good standing with the State Bar of California. I submit this Declaration in support of
 5
     Plaintiffs’ Opposition to the UFC’s1 Administrative Motion to Advance Hearing Date. Unless otherwise
 6
     stated, I have personal knowledge of the facts set forth in this Declaration. If called as a witness, I could
 7
     and would testify competently to them.
 8

 9            2.     I conferred by telephone and email with counsel for UFC prior to entry of the stipulation

10   on January 16 extending UFC’s time to respond to the Complaints filed by Plaintiffs. See Docket No. 26.

11   This stipulation represents the result of extensive negotiation between, and ultimately, the agreement of

12   Plaintiffs and UFC. In particular, the negotiations resulted in an agreement whereby Plaintiffs agreed to

13   give UFC more time to prepare motions or other responses to the Complaints and provided both parties

14   additional time to fully brief the issues raised by such motions and responses. The draft stipulation was

15   drafted and re-drafted, reflecting the negotiation. The final [Proposed] Stipulation and Order Extending

16   Response Deadlines, entered as an Order in the Court’s docket on January 16, 2015 (Dct. 26) (the

17   “Stipulation”), represents the fully negotiated agreement of the parties.

18            3.     On January 26, 2015 counsel for UFC represented to me that UFC had drafted a motion to

19   transfer, and asked Plaintiffs to agree to have the transfer motion heard on March 26, 2015. Prior to

20   January 26, counsel for UFC had expressed no intention to have a transfer motion heard before May 7,

21   the date set for the Case Management Conference. Plaintiffs were not informed prior to January 26 that

22   the UFC intended to file a motion to transfer prior to filing other motions responsive to the Complaints.

23            4.     On January 27, I informed counsel for UFC that the Stipulation provided the schedule for

24   UFC’s transfer motion, as well as any other motion that UFC would bring in response to the Complaints.

25            5.     Attached at Exhibit 1 is a true and correct copy of a subpoena served by JSLF on Twitter,

26   Inc. (“Twitter”) on or about January 8, 2015

27

28   1
         Zuffa, LLC, d/b/a Ultimate Fighting Championship and UFC (“UFC”).
                                                                                       Case No. 5:14-cv-05484-EJD
                                                                                       Case No. 5:14-cv-05591-EJD
                                                        2                              Case No. 5:14-cv-05621-EJD
                                          DECLARATION OF JOSEPH R. SAVERI
        Case 2:15-cv-01045-RFB-BNW             Document 39-1        Filed 02/02/15      Page 3 of 3



 1          6.      Attached at Exhibit 2 is a true and correct copy of a subpoena served by JSLF on Google,
 2   Inc. (“Google”) on or about January 7, 2015.

 3          7.      JSLF served subpoenas on Twitter and Google because it was informed that UFC

 4   President Dana White deleted “tweets” from his account immediately after the Le Complaint was filed.

 5          8.      In addition to Twitter and Google, and named Plaintiff Mr. Le, JSLF is aware of several

 6   other witnesses who reside in the Northern District of California. On information and belief, Scott Coker,

 7   the founder of former UFC competitor Strikeforce, and current president of Bellator, operated Strikeforce

 8   from San Jose; Malcolm Bordelon, the Executive Vice President of Business Operations at Sharks Sports

 9   & Entertainment, fka Silicon Valley Sports & Entertainment (which had an ownership interest in

10   Strikeforce), resides in or around San Jose; Finally, Electronic Artists (“EA”) Sports, which created a

11   UFC video game, has offices in this District. Additionally, several class members reside in this District.

12          I declare under penalty of perjury under the laws of the United States and the State of California

13   that the foregoing is true and correct to the best of my knowledge and that this declaration was executed

14   in San Francisco, California on February 2, 2015.

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                                                                                      /s/ Joseph R. Saveri
17                                                                                        Joseph R. Saveri
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                                                                                     Case No. 5:14-cv-05484-EJD
                                                                                     Case No. 5:14-cv-05591-EJD
                                                      3                              Case No. 5:14-cv-05621-EJD
                                        DECLARATION OF JOSEPH R. SAVERI
